Case 2:05-CV-02098-SHI\/|-tmp Document 15 Filed 07/11/05 Page 1 c‘)f 2 Page|D 24

 

 

IN THE UNITED sTATEs DISTRICT coURT mm BY._%C mg
FOR THE WESTERN DIsTRICT oF TENNESSEE , ,
wESTERN DIvIsION 95 JUL || PH |,, aj
DENNIS JosLIN 0KLAH0MA, LLC, U;U.S.U§mm
Plaintiff,
VS. NO. OB-WSBS-MaP
DARRELL sELLs,
Defendant.

 

ORDER OF DISMISSAL

 

The plaintiff has filed a motion to dismiss this matter.
Defendant does not oppose the motion. For good cause shown,
plaintiff’s motion is granted and this matter is DISMISSED
without prejudice.

It is so ORDERED this HML'day of July, 2005.

SAMUEL H. MAYS, JR.
UNITED STA'I‘ES DISTRICT JUDGE

 

T€'its document entered on the docket sheet in compliance
mm ma 53 amstar men FRCP nn " "

 

E'lesRl'T OURT WE

ERN 1

Notice of Distribution

This notice confirms a copy cf the document docketed as number 15 in
case 2:05-CV-02098 Was distributed by faX, mail, or direct printing on
July 12, 2005 tc the parties listed.

ESSEE

 

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

John G. Young

BLUWNFIELD KAPLAN & ASSOCIATES, P.C.
168 North Meramec

4th Floor

St. Lduis7 1\/11 63105

Edward K. White

THE WH[TE LAW FIRM
1001 Scamblers Knob

Ste. 100

Franklin, TN 37069--600

Donald D. Glenn

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Michael W. Whitaker
WH[TAKER LAW FIRM
7054 Highway 64
Oakland, TN 38060

Jason B. Rudd

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Nicole S. Zellweger

BLUWNFIELD KAPLAN & SANDW W EISS, P.C.

168 North Meramec 4th Floor
St. Lduis7 1\/11 63105

Honorable Samuel Mays
US DISTRICT COURT

